                   Case 2:05-cv-01935-MCE-GGH Document 177 Filed 12/30/05 Page 1 of 2


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             5    Attorneys for Defendant CHELSEA FINANCING
                  PARTNERSHIP, LP
             6

             7

             8                                  UNITED STATES DISTRICT COURT

             9                                 EASTERN DISTRICT OF CALIFORNIA
             10

             11   GARY PALMER,                                       CASE NO.       2:05-CV-01935-MCE-GGH
             12                  Plaintiff,                          STIPULATION AND ORDER FOR
                                                                     EXTENSION OF TIME FOR CHELSEA
             13          v.                                          FINANCING PARTNERSHIP, LP TO FILE
                                                                     RESPONSIVE PLEADING TO CROSS-
             14   CHELSEA FINANCING PARTNERSHIP, LP,                 CLAIM
                  et al.,
             15                                                      Complaint filed: September 23, 2005
                                 Defendants.                         Judge Morrison C. England, Jr.
             16

             17          Defendant, Chelsea Financing Partnership, LP, ("Chelsea") by and through its attorney of
             18   record Martin H. Orlick and the law firm of Jeffer, Mangels, Butler & Marmaro LLP and Waterford
             19   Wedgwood USA, Inc., by and through its attorney of record D. Douglas Shureen and the law firm
             20   of McMillan and Shureen, ("Parties") agree and stipulate as follows:
             21          Waterford Wedgwood USA, Inc., has filed its cross-claim against Chelsea Financing
             22   Partnership, LP. The Parties stipulate and agree to continue the time by which Chelsea must file a
             23   responsive pleading up to and including January 30, 2006. Nothing in this stipulation is intended to
             24   waive any defense that Chelsea may raise against the allegations in the cross-claim.
             25   ///
             26   ///
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             1    IT IS SO STIPULATED:

             2

             3    DATED: December 20, 2005                        JEFFER, MANGELS, BUTLER & MARMARO LLP
                                                                  MARTIN H. ORLICK
             4                                                    MATTHEW S. KENEFICK

             5

             6                                                    By: /s/ Martin H. Orlick
                                                                                 MARTIN H. ORLICK
             7                                                    Attorneys for Defendant and Cross-Defendant
                                                                  CHELSEA FINANCING PARTNERSHIP, LP
             8

             9

             10   DATED: December 20, 2005                        McMILLAN & SHUREEN LLP
                                                                  D. DOUGLAS SHUREEN
             11

             12

             13                                                   By: /s/ D. Douglas Shureen
                                                                                 D. DOUGLAS SHUREEN
             14
                                                                  Attorneys for Defendant and Cross-Claimant
             15                                                   WATERFORD WEDGWOOD USA, INC.

             16

             17

             18   Good cause having been found, IT IS ORDERED that Defendant Chelsea Financing Partnership,

             19   LP shall have up to and including January 30, 2006, to file a responsive pleading to

             20   Waterford Wedgwood USA, Inc. 's Cross-Claim.

             21

             22   IT IS SO ORDERED:

             23   Dated: December 30 , 2005

             24                                                 __________________________________
                                                                MORRISON C. ENGLAND, JR
             25                                                 UNITED STATES DISTRICT JUDGE
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